        Case 1:17-cv-02472-SDG Document 64 Filed 11/27/23 Page 1 of 5




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

UNITED STATES OF AMERICA,               :
ex rel. MYRON JONES, M.D.;              :
                                        :
STATE OF GEORGIA ex rel.                :
MYRON JONES, M.D.; and                  :
                                        :
STATE OF TEXAS                          :
ex rel. MYRON JONES, M.D.               :
                                        :
       Plaintiffs-Relators,             :          CIVIL ACTION NO:
                                        :          1:17-CV-2472-SDG
       v.                               :
                                        :
MILTON HALL SURGICAL                    :
ASSOCIATES, LLC, et.al.                 :
                                        :
       Defendants.                      :


                 UNITED STATES OF AMERICA’S MOTION
                    FOR ENTRY OF FINAL JUDGMENT

      The United States of America, through the undersigned United States

Attorney and Assistant United States Attorney, respectfully moves, ex parte, for

entry of final judgment. In support of this motion, the United States of America

shows as follows:

      Relator, Myron Jones, M.D., served the complaint in the above-captioned

action under the qui tam provisions of the False Claims Act, 31 U.S.C. §§ 3729, et




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              Case 1:17-cv-02472-SDG Document 64 Filed 11/27/23 Page 2 of 5




seq. on the United States of America on or about June 30, 2017. 1 After the United

States of America and the State of Georgia conducted its investigation of the

allegations, a settlement agreement was reached with Defendants Jeffrey Gallups,

M.D., and Milton Hall Surgical Associates, LLC.

          On December 1, 2021 the Plaintiffs, the United States of America and the

State of Georgia (the “Government”), and Defendants Jeffrey Gallups, M.D. and

Milton Hall Surgical Associates, LLC, (collectively, the “Parties”) filed a Notice of

Settlement. 2 Pursuant to the Settlement Agreement the Defendants Jeffrey

Gallups, M.D., and Milton Hall Surgical Associates, LLC are obligated to pay the

sum of $3,068,434.00 to the Government prior to the expiration of twelve months

from November 30, 2021. 3

          Contemporaneously with the Settlement Agreement, the Parties executed a

Consent Judgment wherein Defendants Jeffrey Gallups, M.D., and Milton Hall

Surgical Associates, LLC will, inter-alia, acknowledge their joint and several

liability and debt owed to the Government in the amount of Five Million, Three

Hundred and Eighty-Eight Thousand, Eight Hundred and Sixty Three Dollars

($5,388,863.00), plus post-judgment interest at the judgment rate, plus costs for

Defendants for violations of the False Claims Act (31 U.S.C. §§ 3729 -3733). 4 A copy


1 (Doc. No. 1-4).
2 (Doc. No. 46).
3 (See Doc. No. 46 at Ex.1)
4 Id. at 4.


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               Case 1:17-cv-02472-SDG Document 64 Filed 11/27/23 Page 3 of 5




of the executed Consent Judgment is attached hereto as Exhibit A and

incorporated herein by reference. The Parties contemporaneously executed the

Consent Judgment so that in the event of default of the Settlement Agreement

terms, the Government may, at its sole election, seek to enforce the Consent

Judgment by filing a copy in this Civil Action. 5

          The United States moves this Court for entry of final judgment in the present

case pursuant to the terms of the executed Consent Judgement. Defendants Jeffrey

Gallups, M.D., and Milton Hall Surgical Associates, LLC ceased making payments

to the Government as set forth in Paragraph 1 of the executed Settlement

Agreement. The Defendants failure to make payments constitutes a default under

the terms and conditions of the Settlement Agreement. The Government has

provided notice of default to the Defendants’ representatives and no further

agreements can be reached to modify the payment schedule. As of the date of filing

this motion there remains an outstanding balance of $381,311.24 due and owing to

the Government under the terms of the executed Settlement Agreement. As a

result of the uncured default, the United States of America, at its sole election

pursuant to the terms of the Settlement Agreement seeks to enforce the Consent

Judgment by filing a copy in this Civil Action. 6




5 Id. at 11.
6 (See Doc. No. 46 at Ex.1, pg. 11)


                                            3
        Case 1:17-cv-02472-SDG Document 64 Filed 11/27/23 Page 4 of 5




                                  CONCLUSION

      WHEREFORE, for the reasons set forth above, the United States of America

respectfully requests that this Court for entry of final judgment in the present case

pursuant to the terms of the executed Consent Judgement and grant such other

and further relief as is just. Entry of the attached Consent Judgment will end the

Plaintiff’s litigation of this matter against the Defendants, although the Court

retains jurisdiction to enforce the terms of the Consent Judgment



Date: November 27, 2023                Respectfully submitted,

                                       RYAN K. BUCHANAN
                                       UNITED STATES ATTORNEY

                                       /s/Vanessa A. Leo
                                       VANESSA A. LEO
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                                         4
       Case 1:17-cv-02472-SDG Document 64 Filed 11/27/23 Page 5 of 5




                            Certificate of Compliance

      I hereby certify, pursuant to Local Rules 5.1 and 7.1D, that the foregoing

motion has been typed using 13-point Book Antiqua font.

                                             /s/ Vanessa A. Leo



                          CERTIFICATE OF SERVICE

      I hereby certify that on November 27, 2023 I electronically filed the foregoing

document using the Court’s Electronic Case Filing program, which sends a notice

of this document and an accompanying link to this document to all parties who

have appeared in this case under the Court’s Electronic Case Filing program.


Dated: November 27, 2023                     /s/ Vanessa A. Leo




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